          Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 1 of 8




                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
           Plaintiff,

                 v.                                CRIMINAL NO.    16-168(GAG)

GIOVANNIE VARGAS
           Defendant.


                                SENTENCING MEMORANDUM

TO THE HONORABLE COURT:

        COMES NOW defendant, Giovannie Vargas, “Vargas”, represented by the Federal Public

Defender for the District of Puerto Rico and before this Honorable Court respectfully requests,

states, prays and alleges:

“To have once been a criminal is no disgrace. To remain a criminal is the disgrace” Malcolm X

I.      INTRODUCTION

        The present case has been scheduled for sentencing on May 16, 2017. (D.E. #42) The

United States Probation Officer, “USPO” filed the Pre-Sentence Investigation Report, “PSR”, on

April 7, 2017. (D.E. #45) The PSR has been discussed with Vargas. Informal objections were sent

to the USPO. The addendum to the PSR is pending. Once the addendum if filed, Vargas will file a

motion including all pending objections.

II.     RELIEF SOUGHT

        All arguments in this memorandum are presented to persuade the Court to sentence

Vargas to 27 months of imprisonment which is the lower end of guideline 17 cross-referenced to

a CHC of II. .
         Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 2 of 8




       The suggested imprisonment term of 27 months as to each count concurrently followed

by a supervised release term addresses most 18 U.S.C. § 3553 factors. Budgetary constraints and

the failing prison system are unable to provide defendants with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner. These last

factors are crucial for the success of Vargas’ rehabilitation and a successful reintegration into

society. Prison time in excess to the time agreed by the parties could have the effect of limiting

Vargas’ rehabilitation.

       This Court has had ample opportunity to deal with post sentencing revocation

proceedings to know that supervision is not a walk in the park, yet USPO is the agency with the

personal contact and resources to provide the tools for success in the community.

III.   VERSION OF FACTS

       Vargas accepts the elements of the offense. On March 5, 2016 he, having been convicted

of a crime punishable by an imprisonment term in excess of 1 year was in possession of a weapon

which had been modified to shoot more than one round without manual reloading.

       Negotiation attempts began on the day of the preliminary and detention hearings, both

waived in an attempt to persuade the Government to negotiate a more lenient sentence. Some

time later, Vargas was informed by AUSA Amy that she was unable to extend a plea agreement

in the present case due to office policy which goes against offering agreements to people charged
         Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 3 of 8




under 18 U.S.C. §922(o). We ask that the Court consider Vargas’ action of waiving both detention

and preliminary hearings in mitigation.

IV.     VARGAS’ BACKGROUND

       Vargas’ mother, Ramona Luisa Maldonado, was 16-tears-old when she gave birth to

Vargas followed two years later by Elliot. She single parent and had support from Vargas’ father

until Vargas was five-years-old that his father was murdered. Vargas is unable to talk about his

father without being affected emotionally. Due to his emotional reaction, USPO was unable to

continue with questions relating to his relationship with his father. Maldonado had the support

of her mother and her stepfather when raising Vargas and his five siblings from four different

relationships. Vargas did poorly in school. He studied until 6th grade having been left back on

several occasions and is currently illiterate. Vargas has full support from his mother and

grandmother and her husband.

       Vargas has never been formally employed. Yet, with odd jobs he was able to assist in the

support of two of his four children. Vargas had his first child, Johannie, when he was 15-yrs-old.

Vargas’ mother retains the custody of Johannie since she was a baby because she was removed

from her mother’s custody by the Family Services Department. Vargas also supports and

participated in the birth and rearing of Joelyanis. Nevertheless due to his prior incarceration and

the present case, he has been unable to remain in contact and support his son Jesus Joel or with

his youngest child Joelys who currently lives in Pennsylvania. Upon release, Vargas explains he

will do anything to be a better father and son.
       Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 4 of 8




V.   ARGUMENTS IN FAVOR OF A SENTENCE OF: 27 months of imprisonment

A     Awareness of potential penalties may serve as a general deterrence. Certainty of

     punishment is more important than duration of punishment in deterring offenders from

     re-offending. Excessive punishment will result in despair and will substantially limit

     Vargas’ chances of reintegrating into society. The current predicament has made Vargas

     aware of potential outcome of his actions if he continues the path of unlawful living.

     Imprisonment for this first time prisoner has caused an emotional response, such as fear,

     anxiety and guilt.   In this particular case, it has had the effect of compelling Vargas to

     voice an interest in avoiding future punishment, and has thus discouraged re-offense.

     Vargas is aware a new offense would be too costly in terms of all the advantages

     associated with freedom. Supervision will serve to mold Vargas’ future and provide

     additional awareness of potential outcomes.

B.   Need to address why Vargas committed the crime. Vargas commit the instant offense

     due to a combination of factors. He lacked perception towards his surroundings and his

     life choices. He didn’t put enough thought into his actions and the potential

     consequences. He is in need of mental health treatment programs to assist him in

     improving his coping skills and poor choice development and to overcome the grief from

     the death of his father. He needs to continue with educational efforts, and job training as

     opposed to longer periods of incarceration.

C.   Prison is a school for criminals.

     Vargas is a 27-year-old man who is illiterate and does not speak English. This makes him

     a potential recruit. Young offenders such as Vargas are more susceptible to negative
  Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 5 of 8




influences than other adults. Facing the reality of his sentence and being far away from

home, his common law wife, mother and children will be hard. He will have to work hard

to fit in while still fighting to stand out as the person who is just passing by in the penal

system without absorbing the negative influences. Vargas’s identity is still developing. He

could adopt negative behaviors since this is what he will be constantly exposed to. The

fear of victimization or assault produces the need for security. Young prisoners are more

susceptible to rely on gangs and weapons for survival. If Vargas is focused on surviving,

he will not be able to focus on rehabilitation and changing his thinking and behavior. He

will be focused on survival.

Those who are incarcerated become more sophisticated and more entrenched criminals.

During imprisonment, inmates learn the norms of the antisocial subculture from other

prisoners. Although imprisonment will protect the public against Vargas while he is under

custody, noting that the present case is Vargas only experience with violence,

rehabilitation, education efforts and job training is what will make him a productive

member of society. The longer Vargas stays in prison, the higher probability he will sever

ties and weaken social bonds. These bonds include interpersonal, familial, work place,

and economic relationships. Weakened social bonds resulting from incarceration are

likely to increase an offender’s propensity to commit new crimes after release. The result

will be a higher the degree of institutionalization, thus the greater likelihood of re-

offending.

The process of institutionalization includes, among others, the following adaptations.

Inmates develop dependence on the structure of the institutions which they relinquish
         Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 6 of 8




       freedom and autonomy to make their own choices. Those who return from periods of

       incarceration still dependent on institutional structures and routines cannot be expected

       to effectively organize their lives or exercise the initiative and autonomous decision

       making that is required. They can also develop hyper vigilance, interpersonal distrust and

       suspicion for fear of threat and personal risk. Those who still suffer the negative effects

       of a distrusting and hyper vigilant adaptation to prison life will find it difficult to promote

       trust and authenticity in their relationships. They struggle to control and suppress their

       own emotional reactions and alienate themselves from others. Some learn to find safety

       in becoming invisible, they withdraw socially and become isolated.

       Those who remain emotionally over-controlled and alienated from others will experience

       problems being psychologically available and nurturing. They could not be more

       dysfunctional in family settings where closeness and interdependency is needed. Inmates

       are denied their basic privacy rights and control over mundane decisions we take for

       granted to the point of developing a lack of self-worth and predisposition for degradation.

              “In many institutions the lack of meaningful programming has
              deprived them of pro-social or positive activities in which to engage
              while incarcerated. Few prisoners are given access to gainful
              employment where they can obtain meaningful job skills and earn
              adequate compensation; those who do work are assigned to
              menial tasks that they perform for only a few hours a day. With rare
              exceptions — those very few states that permit highly regulated
              and infrequent conjugal visits — they are prohibited from sexual
              contact of any kind. Attempts to address many of the basic needs
              and desires that are the focus of normal day-to-day existence in the
              free world — to recreate, to work, to love — necessarily draws
              them closer to an illicit prisoner culture that for many represents
              the only apparent and meaningful way of being.” 3

3From Prison to Home: The Effect of Incarceration and reentry on
children, Families and Communities, A Psychological Impact of
               Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 7 of 8




          The continued embrace of the negative aspects of the prison culture will sabotage Vargas’

          opportunity to reenter society.

V.        CONCLUSION

          Vargas is aware of the seriousness of his actions and he has accepted responsibility aware

that a prison term is a consequence of his actions. We request that the court consider that, in this

particular circumstances, a sentence of 27 months of imprisonment and a supervised release term

to follow addresses all 18 U.S.C § 3553 factors.

          Vargas does not wish to be seen as a failure, as a disgrace. Vargas acted like a criminal. But

that is not who he is. He wants to be a success at leaving his criminal past behind. He wants to be a

success at being the person he has been throughout his life and the potential his friends and family

see.

          WHEREFORE, it is respectfully requested that the Court note the present information, and

in consequence sentence Vargas to an imprisonment term of 27 months and a supervised release

term to follow.

                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this date I electronically filed the foregoing motion with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the parties of

record.




                    Incarceration: Implications for Post-Prison Adjustment Craig
                    Haney, University of California, Santa Cruz December
                    2001.http://aspe.hhs.gov/hsp/prison2home02/Haney.htm
     Case 3:16-cr-00168-RAM Document 46 Filed 05/03/17 Page 8 of 8




RESPECTFULLY SUBMITTED.

At San Juan, Puerto Rico, this 3rd day of May, 2017

                                    ERIC A. VOS, ESQ.
                                    Federal Public Defender
                                    District of Puerto Rico

                                    S/YASMIN IRIZARRY-PIETRI
                                    Yasmin Irizarry-Pietri,
                                    Assistant Federal Public Defender,
                                    USDC-PR 213505
                                    241 F.D. Roosevelt Avenue
                                    San Juan, PR 00918-2305
                                    Phone No. (787) 281-4922
                                    Yasmin_Irizarry@fd.org
